        Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 1 of 8



BART M. DAVIS, IDAHO STATE BAR NO. 2696
UNITED STATES ATTORNEY
KATHERINE L. HORWITZ, OKLAHOMA STATE BAR NO. 30110
CHRISTIAN S. NAFZGER, IDAHO STATE BAR NO. 6286
ASSISTANT UNITED STATES ATTORNEYS
TIMOTHY FLOWERS, TENNESSEE STATE BAR NO. 030151
UNITED STATES DEPARTMENT OF JUSTICE TRIAL ATTORNEY
ATTORNEYS FOR THE UNITED STATES OF AMERICA
WASHINGTON GROUP PLAZA IV
800 EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 334-1211
FACSIMILE:(208) 334-1413



                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,

               Plaintiff,
        vs.                                   Case No. 1:18-cr-00258-BLW

PAVEL BABICHENKO,
GENNADY BABITCHENKO,                          GOVERNMENT’S NOTICE
PIOTR BABICHENKO,                             OF INTENT TO INTRODUCE
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,                          EXPERT TESTIMONY FROM
NATALIE BABICHENKO,                           TRADEMARK AND CERTIFICATION
DAVID BIBIKOV,                                MARK HOLDERS
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,

               Defendants.



      Pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G), the United States of

America, by and through Bart M. Davis, United States Attorney for the District of Idaho,

and Katherine Horwitz and Christian Nafzger, the undersigned Assistants United States

Attorney, and Timothy Flowers, United States Department of Justice Trial Attorney, files
        Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 2 of 8



this written summary of expert testimony that it intends to introduce under Federal Rules of

Evidence 702, 703, and 705.1 The United States intends to call the following witnesses as

experts of the respective trademark and certification mark holders’ products, counterfeit

brand protection, and counterfeit analyses of products in this case.

                                        APPLE INC.

       The United States may call Leah Caras as an expert in Apple Inc. brand security and

anti-counterfeiting initiatives. Since 2010, Ms. Caras has been a Brand Protection Manager

at Apple Inc. (“Apple”), where she is responsible for the day-to-day management of the

company’s detainments and seizures of products arriving in the Americas. See Exhibit 1.A.

She supports criminal investigations by identifying counterfeit products and drafting

declarations and affidavits that reflect her findings. Ms. Caras works with Apple in-house

counsel in the drafting of cease-and-desist and demand letters on matters involving

counterfeit product and other trademark infringements, in addition to taking part in

compliance checks. Ms. Caras is also responsible for monitoring past infringers of Apple’s

products.

       The United States anticipates that Ms. Caras will testify that she examined the

mobile-device parts and accessories bearing the various Apple Inc. trademarks at issue in

this case. Ms. Caras is expected to testify that, in her opinion, these parts and accessories

were not authentic Apple products, because, among other reasons, the manufacturing

specifications of the counterfeit merchandise were inferior and the counterfeit products

lacked crucial indicia of legitimate Apple Inc. products. Ms. Caras is also expected to


1
       The Government respectfully reserves the right to supplement this notice as required
during the pendency of this litigation.

GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—2
         Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 3 of 8



explain the process by which counterfeiters unsuccessfully attempt to replicate legitimate

Apple products. Mr. Caras is expected to explain the process by which Apple selects the

parts used in its products and the safety risks associated with using counterfeit parts to repair

Apple products. She will also discuss the characteristics of Apple trademarks and compare

spurious and legitimate versions of Apple trademarks. The United States further anticipates

that Ms. Caras will testify regarding Apple’s registration and use of its trademarks with the

U.S. Patent and Trademark Office, as well as the pricing and distribution of legitimate

Apple products.

                                     QUALCOMM INC.

       The United States may call a witness from Qualcomm Inc. to testify on its behalf at

trial. The United States anticipates that this representative will testify that he examined the

mobile-device parts and accessories bearing the various Qualcomm Inc. trademarks at issue

in this case and that these parts and accessories were not authentic Qualcomm products,

because, among other reasons, the manufacturing specifications of the counterfeit

merchandise were inferior and the counterfeit products lacked crucial indicia of legitimate

Qualcomm products. The Qualcomm representative is also expected to explain the process

by which counterfeiters unsuccessfully attempt to replicate legitimate Qualcomm products.

The representative will testify to the process by which Qualcomm selects the parts used in its

products and the safety risks associated with using counterfeit parts to repair Qualcomm

products. The United States further anticipates that the representative will testify regarding

Qualcomm’s registration and use of its trademarks with the U.S. Patent and Trademark

Office, as well as the pricing and distribution of legitimate Qualcomm products.



GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—3
        Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 4 of 8



                                      SAMSUNG INC.

       James Hogg

       The United States may call James Hogg as an expert in Samsung Inc. brand security

and anti-counterfeiting initiatives. Since 2015, Mr. Hogg has been a Manager of Corporate

Investigations with Samsung Electronics America, Inc. (“Samsung”), where he is

responsible for the day-to-day management of the company’s detainments and seizures of

products arriving in the Americas. See Exhibit 1.B. He supports criminal investigations by

identifying counterfeit products. The United States anticipates that Mr. Hogg will testify

that he examined the mobile-device parts and accessories bearing the various Samsung

trademarks at issue in this case. Mr. Hogg is expected to testify that, in his opinion, these

parts and accessories were not authentic Samsung products, because, among other reasons,

the manufacturing specifications of the counterfeit merchandise were inferior and the

counterfeit products lacked crucial indicia of legitimate Samsung products. Mr. Hogg will

testify to the process by which counterfeiters unsuccessfully attempt to replicate legitimate

Samsung products. Mr. Hogg is expected to explain the process by which Samsung selects

the parts used in its products and the safety risks associated with using counterfeit parts to

repair Samsung products. The United States further anticipates that Mr. Hogg will discuss

the characteristics of Samsung trademarks and compare spurious and legitimate versions of

Samsung trademarks.

       Christopher J. Pyryt

       The United States may also call Christopher J. Pyryt as an expert in Samsung Inc.

brand security and anti-counterfeiting initiatives. Since 2013, Mr. Pyryt has been the Senior

Manager for Samsung Electronics America, where he is responsible for investigating

GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—4
        Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 5 of 8



counterfeit products and maintaining Samsung’s brand-protection program. See Ex. 1.C.

The United States anticipates that Mr. Pyryt will explain the process by which Samsung Inc.

protects its intellectual property, as well as how counterfeiters unsuccessfully attempt to

replicate legitimate Samsung products. Mr. Pyryt is further expected to explain the process

by which Samsung selects the parts used in its products and the safety risks associated with

using counterfeit parts to repair Samsung products. The United States further anticipates

that Mr. Pyryt will testify regarding Samsung’s registration and use of its trademarks with

the U.S. Patent and Trademark Office, as well as the pricing and distribution of legitimate

Samsung products.

                                           UL LLC

       The United States may call Robert J. Pollock as an expert in UL LLC brand security

and safety certification processes. UL is a global independent safety science company that

offers certification of product safety for billons of household, consumer, commercial, and

industrial products, including cellphones and accessories. Since 2003, Mr. Pollock has been

the UL Director of Market Surveillance, where he has responsibility for developing and

directing all global market surveillance strategic initiatives. See Exhibit 1.D. As part of

UL’s Market Surveillance, Mr. Pollock responds to product incident reports by investigating

safety concerns and implementing corrective action if necessary. Mr. Pollock ensures that

products in the marketplace that bear UL Certification Marks are in compliance with the

applicable safety requirements. In addition, Mr. Pollock will likewise explain the processes

of ensuring compliance with safety regulations under UL’s Regulatory Services Department.

The United States anticipates that Mr. Pollock will explain how UL protects its certification



GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—5
         Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 6 of 8



mark, as well as the dangers of products that bear counterfeit safety certification marks, like

UL’s.

        This latter topic specifically includes the dangers posed to the public by counterfeit

iPhone adapters (chargers)—a topic that Mr. Pollock has studied and on which he will

opine. See Exhibit 2. Mr. Pollock is expected to testify that counterfeit cellphone adapters

pose a danger to the public due to a lack of basic safety testing, which creates fire and shock

hazards as well as risk of lethal electrocution. Mr. Pollock will explain the process by which

certification mark holders (such as UL) and trademark holders (such as Apple, Qualcomm,

and Samsung) protect consumers by vigorously testing all legitimate products, including

adapters, for safety and reliability.

         REQUEST FOR DEFENDANTS’ EXPERT WITNESS DISCLOSURE

        This disclosure is made pursuant to Federal Rule of Criminal Procedure 16(a)(1)(G).

Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C), the United States hereby

requests a reciprocal timely disclosure by the Defendants of any testimony that the

Defendants intend to admit at trial, under Rules 702, 703, or 705 of the Federal Rules of

Evidence, that relates to any of the topics summarized in this expert witness notice.

                       Respectfully submitted this 2nd day of January, 2020.


                                           BART M. DAVIS
                                           UNITED STATES ATTORNEY
                                           By:

                                           /s/ Katherine Horwitz
                                           KATHERINE HORWITZ
                                           Assistant United States Attorney



GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—6
        Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 7 of 8



                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 2nd day of January, 2020, the foregoing

GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE EXPERT TESTIMONY

FROM TRADEMARK AND CERTIFICATION MARK HOLDERS was filed

electronically through the CM/ECF system, which caused the following counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:


         JOHN DEFRANCO
         1031 E. Park Blvd.
         Boise, ID 83712
         jcd@greyhawklaw.com
         Attorney for Pavel Babichenko

         JEFFREY BROWNSON
         223 N. 6th Street
         Boise, ID 83702
         jb@jeffreybrownsonlaw.com
         Attorney for Gennady Babitchenko

         PAUL E. RIGGINS
         380 South 4th Street, Ste. 104
         Boise, ID 83702
         rigginslaw@gmail.com
         Attorney for Piotr Babichenko

         ROB S. LEWIS
         913 W. River Street, Ste. 430
         Boise, ID 83702
         office@roblewislaw.com
         Attorney for Timofey Babichenko

         GREG S. SILVEY
         P.O. Box 5501
         Boise, ID 83705
         greg@idahoappeals.com
         Attorney for Kristina Babichenko


GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—7
     Case 1:18-cr-00258-BLW Document 340 Filed 01/02/20 Page 8 of 8




     J.D. MERRIS
     913 W. River Street, Ste. 420
     Boise, ID 83702
     jmerris@earthlink.net
     Attorney for Natalya Babichenko

     ROBYN A. FYFFE
     P.O. Box 5681
     Boise, ID 83705
     robyn@fyffelaw.com
     Attorney for David Bibikov

     S. RICHARD RUBIN
     702 W. Idaho Street, Ste. 1000
     Boise, ID 83702
     dick_rubin@fd.org
     Attorney for Anna Iyerusalimets

     ELLEN NICHOLE SMITH
     P.O. Box 140857
     Garden City, ID 83714
     ellen@smithhorras.com
     Attorney for Mikhail Iyerusalimets



                                                                              _
                                           /s/ Katherine Horwitz
                                           Assistant United States Attorney




GOVERNMENT’S NOTICE OF INTENT TO INTRODUCE
EXPERT TESTIMONY OF TRADEMARK
AND CERTIFICATION MARK HOLDERS—8
